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*A0 2458      (Rev. 06105) Judgment in a Criminal Case
              Sheet 1


                                         UNITEDSTATESDISTFUCT
                                                            COURT
                       SOUTHERN                                  District of                                      ILLINOIS

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                              v.
                     MARK E. MALONE
                                                                         Case Number:           4:06CR40022-002-JPG

                                                                         USM Number: 06846-025
                                                                          G r ~ fE.
                                                                          Greg   l Roosevelt
                                                                                    Rnnsevelt
                                                                         Defendant's Attorney
THE DEFENDANT:
gpleaded guilty to count(s)           1 of the Indictment

   pleaded nolo contendere to count(s)
   which was accepted by the court.                                                                                            .,
C] was found gullty
               guilty on count(s)
   after a plea of not gullty.
                       guilty.
                                                                                                                                            .
The defendant is adjudicated guilty of these offenses:

'l'itle B. Section                 Kature of Offense                                                      Offense Ended
                                                                                                              .      1,"   1     , ,   .        Count
                                                         d!&bute'&'
                                    con@iracy t i ~muf@c#&;~                  . ..~.W$#k,t@
                                                           . . . R&&S with ,lnmf.                                                                   . ., ,,:,;:;
                                                                                                                                                , ~*,y&%


                                    to Distribute 500 Grams or More of Methamphetamine



       The defendant is sentenced as provided in pages 2 through             10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is       are dismissed on the motion of the United States.

          It 1s ordered that the defendant must notlfy the Un~tedStates attomcy for this dlstr~ctu,~thln30 da 3 of any change of name, ro~rlmcc,
or n~ai!ing address untl1,all fines, rcstitution,cosrs, and speclal assessmen& imposed by thls ludgmcnt are t'u& p a ~ d liordercrl to pay restltutlon,
the detendant must not~fythe coun and United Statc, attorney of niaterwl changes m cconomlc clrcunatances.




                                                                          J. Phil Gilbert                                      District Judge
                                                                          NaplepfJudge                                     Title of Judge
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~~--  ~-        (Rev.
                ~     06/05), Judment in Criminal Case
                Sheet 2 - Imprisonment
                                                                                                            Judgment - Page   -
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                                                                   IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  188 months on Count 1 of the Indictment



          The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program.



      @ The defendant is remanded to the custody of the United States Marshal.
      [7 The defendant shall surrender to the United States Marshal for this district:

                  at                                        a.m.         p.m.     on
                  as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                  before 2 p.m. on
                  as notified by the United States Marshal.

           [7     as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                               to

 at                                                        , with a certified copy of this judgment.



                                                                                                          UNITED STATES MARSHAL


                                                                                BY
                                                                                                       DEPUTY UNITED STATES MARSHAL
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             Sheet 3 - Supervised Release
                                                                                                           Judgment-Page      3     of          10
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                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

  5 years on Count 1 of the Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su$mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as deternuned by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 @ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall repofl to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month,
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphemaha related to any controlled substances, except as prescnbed by a phys~c~an:
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted
           felony, unless granted permiss~onto do so by the profation officer;
  10)      the defendant shall permit aprobation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain vlew of the probat~onofflceq
  11)      the defendant shall notify the probation officer witlnn seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as d~rectrdby the robation officer, the defendant shall noufy third pdflles ot'r~sksthat nwy be occasioned by the defendant's cr~rmnal
           record or personay h ~ s t o yor char~ctenstlcsand shall pcrn~ittile prohat~onoficer to nukr such not~ficat~ons    and to confirm the
           defendant s compl~ancew ~ t hsuch not~ficationrequirement.
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             Sheet 3C - Supelvised Release
                                                                                             Judgment-Page    A     of      in
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                                             SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer

  X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
  commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
  percent of his net monthly income, whichever is greater.

  X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorneys Office
  with access to any requested financial information. The defendant is advised that the probation office may share financial
  information with the Financial Litigation Unit.

  X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments andlor any other
  anticipated or unexpected financial gains to the outstanding court-ordered financial obligation The defendant shall
  immediately notify the probation officer of the receipts of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction,
 drug dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may
 require residence andlor participation in a residential treatment facility. Any participation will require complete abstinence
 from all alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling and/or
 testing based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed
 the total costs of counseling.
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            (Rev. 06105) Judgment in a Criminal Case Document 61                        Filed 01/30/07          Page 5 of 6              Page ID #158
            Sheet 5 -Criminal   Monetary Penalties
                                                                                                                                         5
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                                                       CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                                     -
                                                                                      Fine                                 Restitution
 TOTALS              $ 100.00                                                       $ 500.00                             $ 0.00



      The determination of restitution is deferred until                -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise jn
      the priority order or percentage payment column%elow. However, pursuant to 18 J s . ~ $. 3664{), all nonfederal vlctlms must be pa~d
      before the United States is pa~d.

 Yame of Payee                                                                                               Restitution Ordered          Priority or Percentage
 !,;;dj&
 ..              >,i,',,i.&"?.-.
                     " .\         .                     . .* .      .      .         .....: ; i.." '
                                                                                                                                            . ..:.
                                                                                                                                                   .
                                                                                                                                               . . . . .i
                                                                                                                                                                     .!h'.        .
                                                                                                                                                            . . . . ....,.. '..,,.I.
                                                                                                                                                                             ,. . -,

                 i    .
                                gp. '    ,~~b:,,:.;t,*.!~;   :',I                                                   " . . .,      ,.,-                                      ..
                                                                                                                                                                        .....




 TOTALS                                 $                                   0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       @f the interest requirement is waived for the                       @ fine           restitution.
            the interest requirement for the                        fine           restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before Aprll 23, 199%.
A 0 245B   Case    4:06-cr-40022-JPG
            (Rev. 06105) Judxment in a C~irninalCase Document 61       Filed 01/30/07            Page 6 of 6           Page ID #159
            Sheet 6 - ~cheduleof Payments
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                                                   SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A     d Lump sum payment of $                                due immediately, balance due

            IJ not later than                                     ,Or
                  in accordance             C,       D,            E, or          F below; 01

 B          Payment to begin immediately (may be combined with             0 C,          D, or       IJ F below); or
 C          Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E          Payment during the tern of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     C;d Special instructions regarding the payment of criminal monetaly penalties:
             While on Supe~iSedrelease, the defendant shall make monthly payments in the amount of $10.00 or ten percent
             of his net monthly income, whichever is greater, toward his fine.




 Unless the court has express1 ordered otherwise, if this jud ment imposes imprisonment, a ent of criminal monetruy penalties is due durin
 impriso-ept.                                                 5                                 !Y
                  All crlminaYmoneta penalties, except t ose payments made throug t e Federal Bureau of Prisons' Inmate Financia
 Responslbllity Program, are made to x e clerk of the court.
                                                                                                                                                  7
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



       Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




       The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s):

       The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) f i e interest, (6) community restitutioq (7) penalties, and (8) costs, mcludmg cost of prosecution and court costs.
